77 F.3d 472
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Shaka Macumba ZULU X, formerly known as Michael W.Montgomery, Plaintiff--Appellant,v.William M. CATOE, Jr., Defendant--Appellee.
    No. 95-7635.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 7, 1996.Decided Feb. 26, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.   C. Weston Houck, Chief District Judge.  (MISC-95-160)
      Shaka Macumba Zulu X, Appellant Pro Se.
      D.S.C.
      AFFIRMED.
      Before MURNAGHAN and WILLIAMS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief in his civil action.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   X v. Catoe, No. MISC-95-160 (D.S.C. Oct. 12, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    